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                                           8   Attorneys for Defendants Chuck Robbins, Mark
                                               Chandler, Francine Katsoudas, Kelly A. Kramer, M.
                                           9   Michele Burns, Wesley G. Bush, Michael D. Capellas,
                                               Mark Garrett, Dr. Kristina M. Johnson, Roderick C.
                                          10   McGeary, Arun Sarin, KBE, Brenton L. Saunders, Dr.
                                               Lisa Su and Nominal Defendant Cisco Systems, Inc.
                                          11

                                          12                                 UNITED STATES DISTRICT COURT
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13                             NORTHERN DISTRICT OF CALIFORNIA
                                          14   EDWARD SANCHEZ, derivatively on                  Case No.: __________
                                               behalf of CISCO SYSTEMS, INC.
                                          15                                                    DEFENDANTS’ NOTICE OF
                                                                Plaintiff,                      REMOVAL
                                          16
                                                     v.                                         (Santa Clara Superior Court Case
                                          17                                                    No. 20CV370823)
                                               CHUCK ROBBINS, MARK CHANDLER,
                                          18   FRANCINE KATSOUDAS, KELLY A.                     Date Action Filed: September 24, 2020
                                               KRAMER, M. MICHELE BURNS, WESLEY
                                          19   G. BUSH, MICHAEL D. CAPELLAS, MARK
                                               GARRETT, DR. KRISTINA M. JOHNSON,
                                          20   RODERICK C. MCGEARY, ARUN SARIN,
                                               KBE, BRENTON L. SAUNDERS, DR. LISA
                                          21   SU, and DOES 1-30,
                                          22                    Defendants.
                                          23              —and—
                                          24   CISCO SYSTEMS, INC.,
                                          25         Nominal Defendant.
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                                                DEFS.’ NOTICE OF REMOVAL                                               Case No.: __________
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                                           1          TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE

                                           2   NORTHERN DISTRICT OF CALIFORNIA, PLAINTIFF EDWARD SANCHEZ, AND

                                           3   HIS ATTORNEYS OF RECORD:

                                           4          PLEASE TAKE NOTICE that defendants Chuck Robbins, Mark Chandler, Francine

                                           5   Katsoudas, Kelly A. Kramer, M. Michele Burns, Wesley G. Bush, Michael D. Capellas, Mark

                                           6   Garrett, Dr. Kristina M. Johnson, Roderick C. McGeary, Arun Sarin, KBE, Brenton L. Saunders,

                                           7   Dr. Lisa Su and Nominal Defendant Cisco Systems, Inc. (“defendants”), by and through their

                                           8   undersigned attorneys, have removed the above-captioned action from the Superior Court of the

                                           9   State of California for the County of Santa Clara to the United States District Court for the

                                          10   Northern District of California. The removal is based on 28 U.S.C. § 1331 and 15 U.S.C. § 78aa.

                                          11   In support of removal, defendants state as follows:

                                          12   I.     BACKGROUND
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                                                      1.      This shareholder derivative action was filed on September 24, 2020 by plaintiff
                       ATTORNEYS AT LAW




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                                          14   Edward Sanchez (“plaintiff” or “Sanchez”) in the Superior Court of the State of California for the

                                          15   County of Santa Clara, entitled Sanchez v. Robbins et al., Case No. 20CV370823 (“the Sanchez

                                          16   Action”). Plaintiff purports to assert claims on Cisco’s behalf for (1) breach of fiduciary duty, (2)

                                          17   aiding and abetting breach of fiduciary duty and (3) unjust enrichment, based on Cisco’s public

                                          18   statements about its commitments to diversity and inclusion, which plaintiff claims were false and

                                          19   misleading. See Compl. ¶¶ 174-87. Plaintiff expressly alleges that defendants have “violated the

                                          20   federal proxy laws” (id. ¶¶ 17, 144), claims that Cisco’s federal proxy statements were false and

                                          21   misleading (id. ¶¶ 17, 85-87, 98-100, 106, 113, 126, 144) and references or purports to quote

                                          22   from them throughout the Complaint (id. ¶¶ 13, 24-25, 60, 76, 85-86, 89-90, 92-94, 97-99, 102-

                                          23   06, 121-23, 126). Plaintiff seeks, among other relief, damages and a shareholder vote on several

                                          24   proposed corporate governance policies.

                                          25          2.      This action is substantially identical to another derivative suit (filed one-day

                                          26   earlier) allegedly brought on Cisco’s behalf concerning the same proxy (and other) statements

                                          27   about diversity pending in the Northern District of California, entitled City of Pontiac General

                                          28   Employees’ Retirement System v. Bush, et al., No. 4:20-cv-06651-JST. That case, which is

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                                           1   pending before the Honorable Jon S. Tigar, was filed in this Court because plaintiff there

                                           2   recognized that cases containing allegations that defendants violated the federal proxy law

                                           3   (Section 14(a) of the Securities Exchange Act of 1934) must be brought in federal court. In an

                                           4   apparent effort to avoid federal court (where his case would be related to the earlier one pending

                                           5   before Judge Tigar), plaintiff has tried to file a duplicative suit in state court simply by not

                                           6   including a claim under Section 14(a) despite predicating his case on “violations of federal

                                           7   securities laws.” Compl. ¶ 144. As explained below, such a tactic is not a basis for

                                           8   circumventing the federal court’s exclusive jurisdiction over this duplicative case.

                                           9            3.    Indeed, the suit here also mirrors several derivative lawsuits filed by the same

                                          10   plaintiff’s counsel in federal court in California against Facebook, The Gap, NortonLifeLock,

                                          11   Oracle and Qualcomm. See Ocegueda v. Zuckerberg et al., Case No. 3:20-cv-04444-LB (N.D.

                                          12   Cal.); Lee v. Fisher et al., Case No. 3:20-cv-06163-SK (N.D. Cal.); Esa v. Pilette et al., Case No.
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                                               3:20-cv-05410-RS (N.D. Cal.), Klein v. Ellison et al., Case No. 3:20-cv-04439-JSC (N.D. Cal.);
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                                          14   Kiger v. Mollenkopf et al., Case No. 3:20-cv-01355-TWR-MDD (S.D. Cal.). Just as here, each of

                                          15   these purported derivative suits challenges public statements on diversity and inclusion contained

                                          16   in the proxy materials of the respective companies. Such claims must be brought in federal court.

                                          17   In fact, plaintiff’s counsel has admitted as much, publicly stating that “these are all really proxy

                                          18   law claims,” that “the hook was really the proxy rules,” and that plaintiffs “have to go into federal

                                          19   court because a 14(a) claim has to be brought exclusively in federal court.” See September 15,

                                          20   2020 interview of plaintiff’s counsel, in conference sponsored by Professional Liability

                                          21   Underwriting Society, available at https://player.vimeo.com/video/458299313.

                                          22            4.    Plaintiff first served Cisco on October 5, 2020. 1 Therefore, this Notice of

                                          23   Removal is timely. See Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 348

                                          24   (1999) (thirty-day removal period begins when a defendant is served with the summons and

                                          25   complaint, not by “mere receipt of the complaint unattended by any formal service”).

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                                                 The individual defendants were served on October 28, 2020, the date on which defense counsel
                                          28   returned notices and acknowledgment of receipt of summons and complaint.

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                                           1           5.      Santa Clara County, where the State Court Action was pending, is located within

                                           2   the United States District Court for the Northern District of California. In compliance with 28

                                           3   U.S.C. § 1446(a), true and correct copies of all “process, pleadings, and orders” from the State

                                           4   Court Action served on or filed by defendants are attached as Exhibit A.

                                           5           6.      No previous notice of removal has been filed in this case.

                                           6   II.     REMOVAL IS PROPER

                                           7           7.      Federal question jurisdiction exists when an action presents a claim “arising under

                                           8   the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. District courts have

                                           9   “original jurisdiction” in such cases. Federal courts also have exclusive jurisdiction over claims

                                          10   arising under Section 14(a) of the Securities Exchange Act of 1934. See 15 U.S.C. § 78aa.

                                          11           8.      As noted above, this is (at least) the sixth in a series of lawsuits filed by the same

                                          12   plaintiff’s counsel challenging diversity-related disclosures in corporate proxy statements. The
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                                               first five suits were filed in federal court because they contained claims for violations of Section
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                                          14   14(a). Meanwhile, one day prior to plaintiff’s initiation of the Sanchez case, a different plaintiff’s

                                          15   firm filed the City of Pontiac case against substantially the same parties in federal court, also

                                          16   alleging violations of Section 14(a). Perhaps recognizing that Sanchez would be the second

                                          17   federal derivative action pertaining to Cisco’s diversity disclosures, plaintiff’s counsel decided to

                                          18   deviate from his stated strategy of suing under Section 14(a), jettisoned that claim, and has

                                          19   attempted to proceed in state court. Plaintiff, however, cannot so easily plead around federal

                                          20   court jurisdiction.

                                          21           9.      The breach of fiduciary duty claims still hinge on allegedly false and misleading

                                          22   statements contained in Cisco’s proxy statements such that the state law claims rise and fall on

                                          23   plaintiff’s ability to prove the violation of a federal duty—specifically, the duties imposed by

                                          24   Section 14(a) (and SEC Rule 14a-9). Plaintiff has conceded as much, repeatedly alleging that

                                          25   defendants have “violated the federal proxy laws” and that the proxy statements allegedly contain

                                          26   false and misleading statements (Compl. ¶¶ 17, 144; see id. ¶¶ 13, 24-25, 60, 76, 85-90, 92-94,

                                          27   97-100, 102-06, 113, 121-23, 126). Accordingly, like the other cases filed by the same counsel

                                          28   against other companies, and like the City of Pontiac case involving Cisco, the Sanchez

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                                           1   Complaint arises under federal law (i.e., the Securities Exchange Act of 1934) and is subject to

                                           2   removal pursuant to 28 U.S.C. § 1331 and 15 U.S.C. § 78aa.

                                           3   III.     THE NOTICE OF REMOVAL IS PROCEDURALLY PROPER

                                           4            10.     Defendants possess the power to remove this case as named defendants under 28

                                           5   U.S.C. § 1441.

                                           6            11.     Removal to this judicial district is proper under 28 U.S.C. §§ 1441 and 1446(a)

                                           7   and Local Rule 3-2(d) because it includes Santa Clara County, where the State Court Action was

                                           8   originally pending.

                                           9            12.     All named defendants consent to the removal of the action. Moreover, the

                                          10   Complaint does not identify any “Doe” defendants with particularity. Thus, there are no

                                          11   remaining defendants to consent to this notice of removal.

                                          12            13.     Contemporaneously with the filing of this Notice of Removal, written notice of
F ENWICK & W EST LLP




                                               such filing will be served on plaintiff’s counsel: Francis A. Bottini, Jr., Bottini & Bottini, Inc.,
                       ATTORNEYS AT LAW




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                                          14   7817 Ivanhoe Avenue, Suite 102, La Jolla, California 92037. In addition, a copy of this Notice of

                                          15   Removal will be filed with the Clerk of the Court for the Superior Court of California, County of

                                          16   Santa Clara. A copy of the state court notice (without exhibits) is attached hereto as Exhibit B.

                                          17   IV.      NO WAIVER OF DEFENSES

                                          18            14.     By removing this action, defendants do not waive any defenses available to them,

                                          19   including but not limited to those under Fed. R. Civ. P. 12(b) and 12(c). By way of setting forth

                                          20   the bases for removal in this Notice, defendants do not concede the truth of the allegations in the

                                          21   Complaint.

                                          22   V.       CONCLUSION

                                          23            WHEREFORE, having provided notice as is required by law, the above-entitled action is

                                          24   hereby removed from the Superior Court of California for the County of Santa Clara to this Court.

                                          25   Dated: November 2, 2020                        FENWICK & WEST LLP

                                          26
                                                                                              By: /s/ Dean S. Kristy
                                          27                                                          Dean S. Kristy

                                          28                                                  Attorneys for Defendants Chuck Robbins, Mark

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